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No Other Promises

             This agreement constitutes the plea agreement between Wiggins
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

                                          Very truly yours,

                                          VIKAS KHANNA
                                          Attorney for the United States
                                          Acting Under Authority of
                                          28 U.S.C. § 515


                                          s/ Jamie Hoxie Solano
                                          By: Jamie H. Solano
                                          Assistant U.S. Attorney
APPROVED:

/s/ Sean Farrell

Sean Farrell
Chief, Cybercrime Unit




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